          Case Court,
Walker v. Village 1:18-cv-00392-MAD-CFH
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                                                                Nobis Residant.” Dkt. No. 4. That document, as well as
                                                                plaintiff's complaint, were referred to me for review. Based
                  2017 WL 4220415
                                                                upon that review, I issued an order on May 10, 2017,
    Only the Westlaw citation is currently available.
                                                                denying plaintiff's IFP application, without prejudice, and
             United States District Court,
                                                                requiring plaintiff to either pay the statutory filing fee
                   N.D. New York.
                                                                of $400.00 or submit a proper application for leave to
          Alfred Marion WALKER, Plaintiff,                      proceed without prepayment of fees on or before June 2,
                         v.                                     2107. Dkt. No. 6. Despite the passage of that deadline,
         VILLAGE COURT, et al., Defendants.                     plaintiff has taken no further action in this case.

       Civil Action No. 3:17-CV-0390 (DNH/DEP)
                                                                II. DISCUSSION
                             |
                                                                Upon commencement of an action in a federal district
                   Signed 08/04/2017
                                                                court, the statutory filing fee, currently set at $400,
Attorneys and Law Firms                                         must ordinarily be paid. 28 U.S.C. § 1914(a). A court is
                                                                authorized, however, to permit a litigant to proceed IFP
ALFRED MARION WALKER, c/o 60 Saratoga                           if it determines that he is unable to pay the required filing
Avenue, Apartment 114, Binghamton, NY 13901, Pro se.
                                                                fee. 28 U.S.C. § 1915(a)(1). 1

        REPORT AND RECOMMENDATION                               Notwithstanding the reference in the document's title
                                                                to “Application for In Forma pauperis,” plaintiff's
David E. Peebles, U.S. Magistrate Judge                         most recent submission fails to contain any information
                                                                concerning his financial status. See generally Dkt. No.
 *1 Plaintiff Alfred Marion Walker, who is proceeding
                                                                4. Instead, plaintiff insists that courts lack the authority
pro se, has commenced this action against the State of New
                                                                to require payment of filing fees for court access, citing
York and various agencies and individuals associated with
                                                                Crandall v. State of Nevada, 73 U.S. 35 (1867). Id. at 2.
Broome County and/or the City of Endicott, New York.
                                                                That case, however, does not so hold, and Congress has
Despite ample notice of the requirement that he either
                                                                specifically authorized district courts to require payment
pay a statutory filing fee or submit a properly supported
                                                                of filing fees in order to commence actions. See 28 U.S.C.
application for leave to proceed in forma pauperis, he
                                                                § 1914(a) (“The clerk of each district court shall require
has failed to do either. Accordingly, I recommend that
                                                                the parties instituting any civil action ... to pay a filing
plaintiff's complaint be dismissed.
                                                                fee[.]” (emphasis added)). As was noted above, district
                                                                courts do retain the discretion, upon a proper showing, to
I. BACKGROUND                                                   excuse the payment of the filing fee and grant IFP status
Plaintiff commenced this action on April 6, 2017. Dkt.          to a plaintiff. 28 U.S.C. § 1915(a)(1); see Fridman, 195 F.
No. 1. Plaintiff's complaint names the State of New             Supp. 2d at 536 & n.1. In this instance, however, due to
York and sixteen other defendants of varying descriptions       plaintiff's failure to provide any information concerning
as defendants, and sets forth five enumerated causes            his finances, the court is unable to make any meaningful
of action for trespass or “trespass on the case.” See           assessment of his financial status and determine whether
generally id. Upon receiving plaintiff's complaint, District    he qualifies for leave to proceed without prepayment of
Judge David N. Hurd issued an order on April 11, 2017,          fees.
directing administrative closure of the case in light of
plaintiff's failure to pay the requisite statutory filing fee    *2 Having failed to comply with this court's May 10,
or file an application to proceed in the action in forma        2017 order, I now recommend that plaintiff's complaint
pauperis (“IFP”). Dkt. No. 3.                                   be dismissed for failure to pay the required filing fee or to
                                                                obtain leave to proceed IFP. See, e.g., Waters v. Camacho,
Plaintiff thereafter submitted to the court a document          288 F.R.D. 70, 71 (S.D.N.Y. 2013).
entitled “Writ Re: Amended Action And Application
for In forma pauperis” and “Writ of Error Qua Corum
                                                                III. SUMMARY AND RECOMMENDATION


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Despite being placed on notice of the court's requirements,           FAILURE TO SO OBJECT TO THIS REPORT WILL
                                                                      PRECLUDE APPELLATE REVIEW. 28 U.S.C. §
plaintiff has failed to either pay the required filing fee in
                                                                      636(b)(1); Fed. R. Civ. P. 6(a), 6(d), 72; Roldan v. Racette,
this case or to demonstrate that he qualifies for leave to
                                                                      984 F.2d 85 (2d Cir. 1993).
proceed without prepayment of fees. Accordingly, it is
hereby
                                                                      It is hereby ORDERED that the clerk of the court serve a
                                                                      copy of this report and recommendation upon the parties
RECOMMENDED that plaintiff's complaint in this
                                                                      in accordance with this court's local rules.
action be DISMISSED without prejudice.

NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties                All Citations
may lodge written objections to the foregoing report.
Such objections must be filed with the clerk of the court             Slip Copy, 2017 WL 4220415
                                                              2
within FOURTEEN days of service of this report.


Footnotes
1      The language of that section is ambiguous, in that it suggests an intent to limit availability of IFP status to prison inmates.
       See 28 U.S.C. § 1915(a)(1) (authorizing the commencement of an action without prepayment of fees “by a person who
       submits an affidavit that includes a statement of all assets such prisoner possesses”). Courts have construed that section,
       however, as making IFP status available to any litigant who can meet the governing financial criteria. Hayes v. United
       States, 71 Fed. Cl. 366, 367 (Fed. Cl. 2006); see also Fridman v. City of N.Y., 195 F. Supp. 2d 534, 536 n.1 (S.D.N.Y.
       2002).
2      If you are proceeding pro se and are served with this report and recommendation by mail, three additional days will be
       added to the fourteen-day period, meaning that you have seventeen days from the date the report and recommendation
       was mailed to you to serve and file objections. Fed. R. Civ. P. 6(d). If the last day of that prescribed period falls on a
       Saturday, Sunday, or legal holiday, then the deadline is extended until the end of the next day that is not a Saturday,
       Sunday, or legal holiday. Fed. R. Civ. P. 6(a)(1)(C).


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